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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


 CHERYL RADIX, JULIAN
 CARRINGTON, AUDRA HEAVEN, JIGAR
 PATEL, and ACHEBE SAM, on behalf of              Case No. 1:22-cv-6632
 themselves and all others similarly situated,

                                    Plaintiffs,

        vs.

 KENSINGTON INTERNATIONAL, INC.,
 JOHN GELIN, EYAN EDWARDS, RHINA
 HERNANDEZ, RICARDO BLACK,
 KENNSINGTON CAPITAL GROUP, LLC,
 THE BUSINESS BUYERS CLUB, LLC,
 ARTIST SOLUTIONS, LLC D/B/A ARTIST
 FINANCIAL PROGRAMS or UNKNY,
 ULTIMATE BETTER WORLD
 SOLUTIONS LLC, FINANCIAL SAVER
 NETWORK, INC. D/B/A E-FUNDING
 COMPANY, KAY VANG-THAO, BURKE
 MCFARLAND A/K/A NOEL
 MCFARLAND, and SOUTHERN LAND
 PARTNERS, LLC,

                                  Defendants.




                         AMENDED CLASS ACTION COMPLAINT
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 I.     INTRODUCTION

        1.       Plaintiffs bring this putative class action against Defendants Kensington

 International, Inc., John Gelin, Eyan Edwards, Rhina Hernandez, Ricardo Black, Kennsington

 Capital Group, LLC, The Business Buyers Club, LLC, Artist Solutions, LLC (d/b/a Artist

 Financial Programs and UNKNY), Ultimate Better World Solutions LLC, Financial Saver

 Network, Inc. (d/b/a E-Funding Company), Kay Vang-Thao, Burke McFarland (a/k/a Noel

 McFarland), and Southern Land Partners, LLC (all collectively, “Defendants”) for violations of

 the Racketeering Influenced and Corrupt Organizations Act, 18 U.S.C. §1961 et. seq. (hereinafter

 “RICO”), as well as state law claims for fraudulent inducement, breach of contract, breach of

 fiduciary duty, fraudulent concealment, and equitable accounting. Defendants’ collective

 enterprise constitutes an “association-in-fact” pursuant to 18 U.S.C. §1961(4), hereinafter referred

 to as the “Kensington Enterprise.”

        2.       Through a pattern of multifaceted racketeering activities detailed herein,

 Defendants systematically recruited dozens and perhaps hundreds of individuals—including the

 five named Plaintiffs in this action—to furnish moneys for what was designed to appear as a

 legitimate real estate investment opportunity but ultimately proved to be a fraudulent real estate

 investment scam.

        3.       Defendants presented Kensington International, Inc. (“KI, Inc.”) as an established

 real estate investment firm with a proven model, when in fact it was little more than a shell

 company operated by a felon convicted of mortgage fraud. Through a combination of slick

 presentations    and   aggressive    salesmanship—both      fraught    with   numerous     material

 misrepresentations—Defendants fraudulently induced Plaintiffs and the putative class to enter

 contractual arrangements couched as “Joint Venture Agreements” (hereinafter, “JVAs”) with KI,




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 Inc. As an example, a copy of the “Joint Venture Agreement” provided to Radix is attached to

 this Complaint as Exhibit 1.

        4.      The named Plaintiffs alone collectively paid more than $900,000.00, all of

 which is now due and owing under the dubious contracts provided by Defendants. Upon

 information and belief, dozens of other individuals in the putative class were similarly

 defrauded.

        5.      The Kensington Enterprise’s investment proposition to Plaintiffs and the putative

 class was as follows: investors would take out personal loans from legitimate lending institutions,

 then provide those funds to KI, Inc. in the form of a loan. KI, Inc. would then use the funds and

 its own outside financing to acquire residential properties, specifically in New Jersey. KI, Inc.

 would finance and manage the rehabilitation and resale of the acquired properties. Any profits on

 the resold properties would be distributed amongst KI, Inc. and Plaintiffs. KI, Inc. would make

 debt service payments on the loans and then fully repay each loan within one year.

        6.      Plaintiffs have subsequently discovered that this so-called opportunity was a

 complete fraud. Specifically, the purported investment opportunity premised on seven key

 material misrepresentations, which were made through a series of solicitation calls, in marketing

 brochures, and in websites:

          (i)   Capitalization Misrepresentation: The Kensington Enterprise materially

                misrepresented that KI, Inc. was adequately capitalized and had enough cash on

                hand to repay its loans from investors. This was false and misleading; upon

                information and belief, KI, Inc. never had any significant capital reserves or the

                ability to repay Plaintiffs’ funds.




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        (ii)    Establishment Misrepresentation: The Kensington Enterprise materially

                misrepresented KI, Inc. to be a professional, established, and financially sound real

                estate investment firm. This was again false and misleading; the Kensington

                Enterprise had only formed KI, Inc., in November 2017, and it was little more than

                a shell corporation.

        (iii)   Institutional Experience Misrepresentation: The Kensington Enterprise

                materially misrepresented the nature of KI, Inc.’s management and workforce,

                stating that its team was “comprised of contractors, real estate agents, brokers,

                seasoned investors” whose “combined experience” gave it an “intimate and detailed

                knowledge of market trends in the Greater New York area.” This too was false and

                misleading; KI, Inc. was in fact an enterprise comprised of real estate and

                investment industry novices led by a convicted fraudster.

        (iv)    Past Success / Testimonial Misrepresentation: The Kensington Enterprise

                materially misrepresented the proposed commercial transactions by citing to a

                variety of testimonials which suggested that KI, Inc. had successfully served many

                other investors in the past. In fact, the testimonials were misleading, and on

                information and belief, some were entirely fabricated.

        (v)     Guarantee Misrepresentation: The Kensington Enterprise misrepresented and/or

                omitted material facts regarding personal guarantees that KI, Inc.’s officers used to

                induce Plaintiffs into providing funds. In reality, none of the guarantors had the

                assets, credit, or intention to guarantee Plaintiffs’ loans, and especially given that

                one of them was a convicted felon.




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              (vi) Section 8 Misrepresentation: The Kensington Enterprise misrepresented its

                   purported special connections with contractors who were “Section 8 housing

                   approved” and that this approval would allow it to obtain property from the

                   government (or as part of government programs) at favorable prices. This was

                   again false and misleading.

              (vii) General Intent-to-Perform Misrepresentation: The totality of the circumstances

                   detailed herein permit the reasonable inference that the Kensington Enterprise

                   persuaded Plaintiffs to furnish monies with a slew of promises that the Kensington

                   Enterprise generally did not intend to perform on. Thus, the Kensington Enterprises

                   promises to perform were material as well as false and misleading.

         7.        After the Kensington Enterprise fraudulently induced Plaintiffs to borrow

 significant amounts of money to invest with KI, Inc., the extent of the fraud slowly became clear

 as KI, Inc. proceeded to systematically deviate from its investment proposition and violate the core

 terms of its contracts with Plaintiffs and the putative class.

         8.        KI, Inc. ultimately defaulted on all the loans it owed to the five named Plaintiffs.

         9.        Further, Plaintiffs had been assured (and contractually promised) that KI, Inc.

 would at least provide minimum payments on the debt which Plaintiffs had been led to take out in

 their own names.

         10.       By 2019, however, KI, Inc. had abruptly stopped making these payments without

 even notifying Plaintiffs.

         11.       By 2020, KI, Inc. and its principals seemed to dissolve into thin air; its various

 websites and social media pages were abandoned, and its agents stopped responding to Plaintiffs’

 inquiries.




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         12.      None of the five Plaintiffs ever received any repayment for their so-called

 ‘investments’.

         13.      This placed Plaintiffs in the difficult position of either paying off the loans

 themselves or experiencing a severe impairment of their credit.

         14.      The Kensington Enterprise also induced Plaintiffs not to seek enforcement of their

 respective contracts through a variety of fraudulent concealments. These false excuses, assurances,

 and obfuscations fraudulently concealed Kensington’s lack of funds to meet its financial

 obligations to Plaintiffs.

         15.      The various individuals comprising the Kensington Enterprise have acted in concert

 through the years to conceal the unlawful conduct set forth herein by a variety of tactics to prevent

 Plaintiffs from discovering their illegal conduct through reasonable diligence.

         16.      As a result of Defendants’ unlawful and fraudulent conduct, Plaintiffs have

 collectively suffered millions of dollars in economic damages.

 II.     JURISDICTION AND VENUE

         17.      This Court has jurisdiction over the subject matter of this action pursuant to CAFA

 and 28 U.S.C. § 1332(D)(2) because the matter in controversy exceeds the sum of $5,000,000

 exclusive of interest and costs, and is a class action in which members of a class of plaintiffs are

 citizens of a State different from that of defendants.

         18.      Separately, this Court also has subject-matter jurisdiction pursuant to Racketeer

 Influenced and Corrupt Organizations Act, 18 U.S.C. §1964(c), as well as pendent and/or

 supplemental jurisdiction over Plaintiffs’ common law claims pursuant to 28 U.S.C. § 1367.

         19.      Venue in this District is proper because many of the acts and transactions giving

 rise to the violations of law alleged in this Complaint occurred in this District and many of the

 Defendants reside in this District.


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        20.     Defendants KI, Inc., Gelin, and Edwards have also contractually consented to the

 personal jurisdiction of this Court and waived any objections to jurisdiction or venue in New York.

 III.   PARTIES

        A.      Plaintiffs

        21.     Plaintiff Cheryl Radix (“Radix”) is a data privacy consultant residing in Virginia.

 Pursuant to a Joint Venture Agreement with KI, Inc. executed in October 2018, Radix furnished

 $172,370 to the Kensington Enterprise.

        22.     Plaintiff Julian Carrington (“Carrington”) is a software engineer residing in New

 York. Pursuant to a Joint Venture Agreement with KI, Inc. executed in April 2018, Carrington

 furnished $175,000 to the Kensington Enterprise.

        23.     Plaintiff Audra Heaven (“Heaven”) is a bank teller residing in New York. Pursuant

 to a Joint Venture Agreement with KI, Inc. executed in October 2018, Heaven furnished

 $109,700.0 to the Kensington Enterprise.

        24.     Plaintiff Jigar Patel (“Patel”) is a User Experience Designer residing in New Jersey.

 Pursuant to a Joint Venture Agreement with KI, Inc. executed in April 2018, Patel furnished

 $265,000 to the Kensington Enterprise.

        25.     Plaintiff Achebe Sam (“Sam”) is a data security specialist residing in New York.

 Pursuant to a Joint Venture Agreement with KI, Inc. executed in February 2019, Sam furnished

 $185,000.00 to the Kensington Enterprise.

        B.      Defendants

        26.     Defendant John Gelin (“Gelin”) resides in Brooklyn, New York. At the time of

 Plaintiffs’ investments, Gelin held himself out as CEO of Defendants KI, Inc. and Kennsington

 Capital Group, LLC (“KCG”), and The Business Buyers Club, LLC, (“BBC”).




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        27.      Defendant Eyan Edwards’s (“Edwards”) last recorded residence was in New Jersey.

 At the time of Plaintiffs’ investments, Edwards held himself out as Vice President of Client

 Development of Defendants KI, Inc. and KCG.

        28.      Defendant Rhina Hernandez (“Hernandez”), who, based on information and belief

 is Gelin’s spouse, resides in Brooklyn, New York.

        29.      Defendant Ricardo Black (“Black”) is an individual residing in New York. At the

 time of Plaintiffs’ investments, Black held himself out as Director of Regional Operations of

 Defendants KI, Inc. and KCG, and “Founder/Chief Solutions Officer” of Defendant Ultimate

 Better World Solutions, LLC (“UBWS”).

        30.      Defendant Burke McFarland (“McFarland”), also known as Noel McFarland, is an

 individual residing in Tennessee.

        31.      Defendant Kaolee Vang-Thao (“Vang-Thao”) is an individual residing in the state

 of Minnesota.

        32.      Defendant Kensington International, Inc. (“KI, Inc.”), is an active domestic

 business corporation incorporated in New York State in November 2017.

        33.      Defendant Kennsington Capital Group, LLC (“KCG”), is an active domestic

 limited liability company organized in New York State in February 1999.

        34.      Defendant The Business Buyers Club, LLC, (“BBC”) is an active domestic limited

 liability company incorporated in New York State in June 2015.

        35.      Defendant Ultimate Better World Solutions, LLC (“UBWS”) is an active domestic

 limited liability company organized in New York State in January 2014.

        36.      Defendant Artist Solutions, LLC (d/b/a Artist Financial Programs) (“Artists

 Financial”) is an active domestic limited liability company incorporated in New York State.




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         37.     Defendant Southern Land Partners LLC (“SLP”) is an active domestic limited

 liability company incorporated in Tennessee.

         38.     Defendant Financial Saver Network, Inc. (d/b/a E-Funding Company) (“FSN”) is

 an active business corporation incorporated in Minnesota in July 2011.

         39.     Defendants Gelin, Edwards, Hernandez, Black, Vang-Thao, and McFarland are

 more specifically referred to herein as the “Individual Defendants.”

         40.     Defendants KI, Inc., KCG, BBC, UBWS, Artists Solutions, FSN and SLP are more

 specifically referred to herein as the “Corporate Defendants.”

         41.     All Defendants are collectively referred to herein as the “Kensington Enterprise.”

 IV.     GENERAL FACTUAL ALLEGATIONS

         A.      The Kensington Enterprise’s Fraudulent Inducement of Plaintiffs’
                 Investments Through Seven Material Misrepresentations, Made in Phone
                 Calls, Promotional Materials and Via KI, Inc.’s Website.

         42.     The Kensington Enterprise made numerous fraudulent representations that were

 intended to, and did, induce Plaintiffs to enter contracts with KI, Inc. and furnish money to the

 Kensington Enterprise.

         43.     These fraudulent representations were made via: (a) phone calls, (b) marketing

 brochures, sent electronically, and (c) KI, Inc.’s website, all further detailed below.

         44.     The Kensington Enterprise systematically and continuously disseminated these

 false and misleading statements via interstate wire communications (i.e., the internet and

 telephone) for at least two years.

         45.     The Kensington Enterprise made these misrepresentations either with knowledge

 of their falsity or with reckless disregard for the truth.

         46.     Plaintiffs reasonably relied on these misrepresentations, which were material to

 Plaintiffs’ decisions to invest in Defendant KI, Inc.


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                   1.     The Inducement Calls

        47.        At various dates in 2017 and 2018, all Plaintiffs had telephone calls with

 Kensington Enterprise representatives (hereinafter collectively referred to as the “Inducement

 Calls”), after being introduced to such representatives through friends or relatives.

        48.        In most cases, the Kensington Enterprise representative in question was either

 Edwards, who held himself out as KI, Inc.’s Vice President of Client Development, or Black, who

 held himself out as Director of Regional Operations.

        49.        The purpose of the Inducement Calls was generally to convince the Plaintiffs to

 borrow money from legitimate lenders and invest and/or loan that money to KI, Inc., which the

 Kensington Enterprise claimed it would then invest in real estate properties. Specific examples

 include:

            (i)    Radix received an Inducement Call from Ricardo Black in early September 2018.

                   During the call, Black represented himself as an agent and officer of KI, Inc. and

                   conveyed most if not all of the seven misrepresentations detailed below.

            (ii)   Carrington received an Inducement Call from Eyan Edwards and Ricardo Black

                   in early February 2018. During the call, Edwards and Black represented themselves

                   as agents and officers of KI, Inc. and conveyed most if not all of the seven

                   misrepresentations detailed below.

            (iii) Heaven received an Inducement Call from Ricardo Black in September or October

                   of 2018. During the call, Black represented himself as an agent and officer of KI,

                   Inc. and conveyed most if not all of the seven misrepresentations detailed below.

            (iv) Patel received an Inducement Call from Eyan Edwards in February 2018. During

                   the call, Edwards represented himself as an agent and officer of KI, Inc. and

                   conveyed most if not all of the seven misrepresentations detailed below.


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          (v)   Sam received an Inducement Call from Ricardo Black in September 2018. During

                the call, Black represented himself as an agent and officer of KI, Inc. and conveyed

                most if not all of the seven misrepresentations detailed below.

                2.      The Brochures

        50.     After these introductory Inducement Calls, the Kensington Enterprise’s

 representative would follow up by sending a marketing brochure (hereinafter collectively referred

 to as the “Brochures”), typically via email.

        51.     The Brochures provided to Plaintiffs include the same substantive claims, although

 many such claims appear to have been amplified from 2017 to 2018. As an example, a copy of

 the brochure provided to Radix is attached to this Complaint as Exhibit 2. It was sent to Radix by

 email from Black on September 13, 2018 at 11:15 PM.

                3.      The Websites.

        52.     All of the Plaintiffs also report going online to check out KI, Inc. They all report

 visiting either http://www.kennsington.co or http://www.kensingtoninternational.com, which are

 both linked to in various Brochures (hereinafter collectively referred to as the “Websites”).

        53.     The Websites reiterated many if not all of the same misrepresentations made in the

 Inducement Calls and the Brochures.

        54.     Black, after conducting the Inducement Calls with several of the Plaintiffs,

 provided Plaintiffs with a link to the Websites via email and text message.

        55.     A copy of http://www.kennsington.co as it appeared on August 11, 2020 is attached

 to this Complaint as Exhibit 3.

        56.     A copy of http://www.kensingtoninternational.com/testimonials/ as it appeared on

 June 10, 2019 is attached to this Complaint as Exhibit 4.




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        57.     The Kensington Enterprise also made extensive use of social media platforms,

 particularly its Facebook page.

        58.     A copy of KI, Inc.’s YouTube page as it appeared on November 28, 2019 is attached

 to this Complaint as Exhibit 5.

        59.     A copy of KCG’s Facebook page as it appeared on October 26, 2022 is attached to

 this Complaint as Exhibit 6.

        60.     In addition, Black sent Plaintiffs links to other websites promoting the Kensington

 venture. As an example, a copy of a text message from Black to Sam inviting him to “learn more

 about Kensington’s investing program by watching our brief overview video with Ricardo A.

 Black at http://goo.gl/jnPQKQ” is attached to this Complaint as Exhibit 10.

        B.      Seven Material Misrepresentations Inducing Plaintiffs’ Investment

        61.     In all five of the Plaintiffs’ cases, and those of the putative class, the Inducement

 Calls, Brochures, and Websites included seven key material misrepresentations, detailed in the

 following sections:

                1.      Capitalization Misrepresentation

        62.     By and through the Inducement Calls and the Brochures, the Kensington Enterprise

 misrepresented the nature of its investment proposition to Plaintiffs by representing that KI, Inc.

 was a well-capitalized institution.

        63.     Specifically, to make Plaintiffs comfortable about the risks of taking out loans to

 invest in KI, Inc., the company contractually promised to make debt service payments on

 Plaintiffs’ loans, fully repay their investments within one year, reimburse them for any costs they

 incurred in connection with their loans, and even fully indemnify them from any loss in relation to

 the transaction.




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        64.     Thus, the Kensington Enterprise portrayed the investment as a risk-free yet

 lucrative opportunity which would result either in a profit from the resale of property, or simple

 repayment of the loan with an acceptable rate of interest.

        65.     For example, the Brochures stated that KI, Inc. could: “consistently ensure

 maximum risk mitigation & profitability, as well as a quick return on the investment.” See Ex. 2,

 at 1 (emphasis added).

        66.     As a further false assurance to downplay the true risk of investing, the Kensington

 Enterprise represented during the Inducement Calls that it had adequate “backup funds.”

        67.     But the specific falsity in these representations was that KI, Inc. was adequately

 capitalized and had enough cash on hand to repay its loans from investors.

        68.     These representations regarding KI, Inc.’s capitalization and its ability to repay

 Plaintiffs were materially false or misleading when made.           The statements and omissions

 concerned the state of KI, Inc. at the time Plaintiffs were induced to furnish monies to KI, Inc.

        69.     These misrepresentations suggested that KI, Inc. had the financial stability and

 liquidity necessary to cover the loans from its investors. In reality, KI, Inc. was a brand-new

 corporate entity with little capitalization apart from Plaintiffs’ investments and would never have

 been able to repay Plaintiffs from pre-existing capital reserves.

                2.        Establishment Misrepresentation

        70.     By and through the Brochures, the Kensington Enterprise further represented that

 KI, Inc. was already a profitable, established, and financially sound real estate investment firm.

        71.     For example, the Brochures compared KI, Inc. to Toll Brothers, a well-established

 and deeply funded housing development company, stating: “Toll Brothers are a publicly traded

 Real Estate Firm, doing about 3000 properties per year. We have modeled our turn key real estate




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 system after their system. The only difference is they are in the luxury real estate market and we

 are in the multifamily space.” See Ex. 2, at 4 (emphasis added).

        72.     As another example, some Brochures suggested that Kensington had a global

 presence, stating that “Our mission, as an organization, is to continue to expand globally…” See

 Ex. 2, at 5 (emphasis).

        73.     As      another      example,      an     August      6,   2018      snapshot     of

 “http://kensingtoninternational.co/” includes such statements as: “we are consistently making

 money in real estate”; “Choosing a Real Estate Niche takes time, but we already have them all

 down to at science”; and “[W]e've been doing this for over a decade.” A copy of an August 6, 2018

 snapshot of “http://kensingtoninternational.co/” is attached to this Complaint as Exhibit 7.

        74.     The representations in the preceding paragraphs were materially false or misleading

 when made because they represented that KI, Inc. had been doing business for many years and had

 a track record of profitability and success.

        75.     In fact, KI, Inc. was not well-established at all: corporate records show that it had

 only been incorporated in November 2017, the same month that it executed its first contract with

 Plaintiffs. Its track record of profitability and success was nil.

                3.         Institutional Experience Misrepresentation

        76.     By and through the Brochures, the Kensington Enterprise further represented that

 KI, Inc.’s owners and employees had experience in the investment and real estate industry.

        77.     For example, the Brochures stated that: “Our real estate professionals have a

 combined 50 years experience in the real estate industry. Our team is comprised of contractors,

 real estate agents, brokers, seasoned investors, and the combined experience of this group has

 afforded us intimate and detailed knowledge of market trends in the Greater New York area.” See

 Ex. 2, at 1 (“…our team has a combined 75 years worth of real estate experience.”).


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         78.      The representations in the preceding paragraph were materially false or misleading

 when made. Neither the Individual Kensington Defendants nor any other individual in KI, Inc.’s

 employ had any colorable investment industry experience.

         79.      The Kensington Enterprise misleadingly omitted that KI, Inc.’s team was headed

 by a convicted criminal fraudster.

         80.      In addition, based on their communications with Defendants, Plaintiffs allege on

 information and belief that KI, Inc. did not have a team of contractors, real estate agents, and

 brokers, and that KI, Inc.’s purportedly experienced management team consisted mainly of Gelin

 and Edwards.

                  4.     Past Success / Testimonial Misrepresentation

         81.      By and through the Brochures and the Websites, the Kensington Enterprise further

 represented that it had a track record of success in earning meaningful returns for investors similar

 to Plaintiffs.

         82.      For example, some of the Brochures included testimonials that now appear to have

 been entirely fabricated, such as this testimonial from “Kristen G.”: “Hi, my name is Kristen and

 I am a proud client of Kensington International. I started working with them less than 8 months

 ago and they invested in a property, with me, and the property already had an in buyer. So, all I

 had to do was put up my credit, they raised the money, managed the contractors and as soon as

 the property was renovated it was sold and I made $20,000 after all fees were paid. Now, I am

 going through the process again! I am excited to be a part of this company.” See Ex. 2, at 8

 (emphasis added).

         83.      Upon information and belief, “Kristen G.” is either not a real person, or if she is,

 then the statements attributed to her are not accurate.




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         84.     These misrepresentations were material because they implied that KI, Inc. had a

 long list of satisfied investors when in fact it did not.

         85.     The representations in the preceding paragraph were materially false or misleading

 when made. Neither the Individual Kensington Defendants nor any other individual in KI, Inc.’s

 had a track record of returning investment funds with profit.

                 5.      Guarantee Misrepresentation

         86.     As further inducement and assurances to Plaintiffs, the Kensington Enterprise

 offered personal guarantees executed by KI, Inc.’s main principals, Gelin and Edwards.

         87.     In offering these personal guarantees, the Kensington Enterprise falsely assured

 investors that if KI, Inc. was somehow unable to repay its loans from investors, Gelin and Edwards

 would cover the loans with their own assets. By doing so, Gelin and Edwards suggested to

 investors that they had both the financial ability and the intention to meet the legal obligations set

 forth in their guarantee.

         88.     For example, Heaven was provided a “Guaranty Agreement” signed by Gelin

 which stated in part as follows:

                 The Guarantor hereby absolutely and unconditionally, guarantees to
                 Holders, the due and punctual payment in full of (a) the principal of,
                 interest on (including, without limitation, interest accruing after the
                 filing of any petition in bankruptcy, or the commencement of any
                 insolvency, reorganization or like proceeding, whether or not a
                 claim for post-filing or post-petition interest is allowed in such
                 proceeding), and any other amounts due under, the Note when and
                 as the same shall become due and payable (whether at stated
                 maturity or by required or optional prepayment or by acceleration or
                 otherwise) and (b) any other sums which may become due under the
                 terms and provisions of the JV Agreement (all such obligations
                 described in clauses (a) and (b) above are herein called the
                 “Guaranteed Obligations”).

         89.     These representations and omissions regarding Gelin and Edwards’ financial ability

 and intention to abide by their guarantees were materially false or misleading when made.


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         90.     Specifically, these representations and omissions were false and misleading

 because they implied that the guarantees were valuable and offered a specific recourse to the

 Plaintiffs if KI, Inc. could not repay its loans.

         91.     In reality, neither Gelin nor Edwards had the means to underwrite any significant

 debt at all.

                 6.      Section 8 Misrepresentation

         92.     By and through the Inducement Calls, the Kensington Enterprise represented that

 they had relationships with “Section 8 approved” contractors who could obtain properties at

 favorable prices due to some sort of governmental approval, subsidization or relationship.

         93.     These representations regarding KI, Inc.’s special connections with “Section 8

 approved” contractors were materially false or misleading when made.

         94.     During the Inducement Calls, the Kensington Enterprise represented that KI, Inc.

 worked with contractors that were “Section 8 housing approved.” Working with such contractors

 supposedly allowed KI, Inc. to obtain properties at below market prices with the expectation that

 the company would renovate these properties to be available back on the market.

         95.     In reality, KI, Inc. had no particular capacity to obtain properties at any prices other

 than those found in the traditional real estate market.

                 7.      General Intent-to-Perform Misrepresentation

         96.     The totality of the circumstances detailed herein permit the reasonable inference

 that the Kensington Enterprise persuaded Plaintiffs to furnish monies with a slew of promises that

 the Kensington Enterprise generally did not intend to perform on.

         97.     This inference is most strongly supported by the fact that the scheme’s apparent

 architect, Gelin, had been convicted of a similarly complex and multi-faceted financial fraud in

 2009.


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        98.      The inference is also supported by the fact that all of the Individual and Corporate

 Defendants seemed to disappear in 2020, abruptly ceasing to respond to Plaintiffs’ urgent inquiries.

        99.      Thus, the Kensington Enterprises’ various promises to perform should be

 considered collectively material, as well as false and misleading.

        100.     There is sufficient evidence to permit the reasonable inference that at the time

 Plaintiffs furnished their monies for the purported investment opportunity, Defendants never

 intended to honor their various contractual commitments.

        C.       Plaintiffs Relied on the Kensington Enterprise’s Fraudulent
                 Misrepresentations in Deciding to Invest in KI, Inc.

        101.     Plaintiffs reasonably relied on the Kensington Enterprise’s seven material

 misrepresentations in deciding to invest and place their trust in KI, Inc. and the rest of the

 Kensington Enterprise.

        102.     Subsequent events would clearly expose these material representations to be false.

        D.       Plaintiffs Enter “Joint Venture” Agreements (“JVAs”) with KI, Inc.

        103.     Between November 2017 and February 2019, the five named Plaintiffs, all relying

 on the same or substantially similar fraudulent misrepresentations detailed above, furnished

 moneys to the Kensington Enterprise, as further detailed below:

          (i)    Cheryl Radix signed a JVA with KI, Inc. on October 1, 2018 and furnished

                 $172,370 to the Kensington Enterprise, obtaining a Promissory Note for the same

                 amount which matured on October 1, 2019. To date, Kensington has repaid nothing

                 to Ms. Radix, other than a handful of debt servicing payments made directly to

                 lenders.

          (ii)   Julian Carrington signed a JVA with KI, Inc. on April 10, 2018 and furnished

                 $175,000 to the Kensington Enterprise, obtaining a Promissory Note for the same



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                amount which matured on April 10, 2019. To date, Kensington has repaid nothing

                to Mr. Carrington, other than a handful of debt servicing payments made directly

                to lenders.

          (iii) Audra Heaven signed a JVA with KI, Inc. on October 1, 2018 and furnished

                $109,700 to the Kensington Enterprise, obtaining a Promissory Note for the same

                amount which matured on October 1, 2019. To date, Kensington has repaid nothing

                to Ms. Heaven.

          (iv) Jigar Patel signed a JVA with KI, Inc. on April 4, 2018, and furnished $265,000

                to the Kensington Enterprise, obtaining a Promissory Note for the same amount

                which matured on April 4, 2019. To date, Kensington has repaid nothing to Mr.

                Patel.

          (v)   Achebe Sam signed a JVA with KI, Inc. on February 2, 2019 and furnished

                $185,000 to the Kensington Enterprise, obtaining a Promissory Note for the same

                amount which matured on February 2, 2020. To date, Kensington has repaid

                nothing to Mr. Sam.

        104.    All five Plaintiffs used interstate wire communications and payment services to

 enter into these agreements and furnish monies to the Kensington Enterprise.

        105.    Under the terms of the JVAs, Plaintiffs all agreed to (and made) loans to KI, Inc.

 for terms of one year.

        106.    The JVAs required KI, Inc. to use Plaintiffs’ capital and its own funds to acquire,

 renovate, and resell properties and then distribute any profits among the joint venture partners.




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         107.    The Kensington Enterprise drafted the JVAs and all incorporated documents,

 including KI, Inc.’s promissory note (Schedule 1) and Gelin and Edwards’s guarantee (Schedule

 2). Plaintiffs signed the JVAs without any additions or modifications.

         108.    The JVAs appeared to feature expert legal drafting, but upon closer inspection, are

 full of legal contradictions.

         109.    For example, the title of “Joint Venture Agreement” does not match the contents of

 the Agreement, which merely sets forth the terms of a loan. It does not appear to include several

 of the key indicia of a joint venture under New York law. See, e.g., Kaikov v. Kaikov, No. 19-CV-

 2521 (LDH) (RER), 2020 U.S. Dist. LEXIS 186409, at *11-12 (E.D.N.Y. Oct. 5, 2020) (describing

 the 5 elements of a joint venture under New York law, including that “(4) each must have some

 degree of joint control over the venture; and (5) there must be a provision for the sharing of both

 profits and losses.”) (emphasis added).

         110.    In other words, the JVAs leave an unclear impression as to whether the

 contemplated relationship between Plaintiffs and KI, Inc. was that of investor-investee, lender-

 borrower, or joint venturers.

         111.    Ultimately, however, in consideration of the entire course of conduct detailed

 herein, the JVAs should be viewed merely as an artifice of fraud; a means of inducing Plaintiffs to

 send money to the Kensington Enterprise.

         E.      KI, Inc. Breaches the JVAs and Fails to Make Payments Due.

         112.    Even if the JVAs were viewed as an enforceable contract—establishing either an

 investor-investee, lender-borrower, or joint venture relationships—Kensington clearly and

 egregiously breached those contracts.

         113.    Most significantly, KI, Inc. uniformly failed to repay Plaintiffs on the maturity dates

 applicable to each Plaintiff’s loan.


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          114.   The JVAs also required KI, Inc. to maintain capital reserves.

          115.   Upon information and belief, KI, Inc. did not do this because none of the Plaintiffs

 received full repayment of their loans.

          116.   The JVAs also required KI, Inc. to make debt service payments on Plaintiffs’ loans.

 For some Plaintiffs, KI, Inc. did this sporadically and inconsistently for a time. By early 2019,

 however, it stopped servicing all Plaintiffs’ debts.

          117.   In most cases, KI, Inc. failed to provide any notice to Plaintiffs that it had stopped

 making such payments.

          118.   The JVAs also required KI, Inc. to reimburse Plaintiffs’ debt origination and broker

 fees. Again, KI, Inc. failed to do this for all Plaintiffs.

          119.   After sending money to the Kensington Enterprise on various dates from late 2017

 to early 2019, Plaintiffs initially received sporadic updates, primarily from Black or Edwards.

 Then they began to receive email messages from Freedcamp, KI, Inc.’s web-based project

 management program. The Freedcamp messages generally did not identify the individual sender.

          120.   By late 2018, however, as the first payments came due, the Kensington Enterprise

 began to disseminate additional misrepresentations—detailed below—to fraudulently conceal its

 inability and/or unwilling to perform.            Once again, the fraudulent concealment and

 misrepresentations were disseminated via interstate wire communications (i.e., the internet).

          F.     Kensington’s Fraudulent Concealment After Plaintiffs’ Investments

          121.   By early 2019, KI, Inc. had defaulted on the Maturity Dates of many of the

 Plaintiffs’ respective loans to KI, Inc., and had also stopped making debt service payments on their

 loans.

          122.   To induce several of the Plaintiffs to make debt service payments on their loans

 after KI, Inc. stopped doing so, and to generally conceal their fraudulent inducements detailed


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 above, the Kensington Enterprise made a series of fraudulent statements, in four categories,

 detailed below.

             1. Specific Property Misrepresentation/Concealment

          123.   The Kensington Enterprise repeatedly represented that it had acquired or owned

 property that it did not in fact own.

          124.   For example, in February 2018, the Kensington Enterprise sent Carrington a

 Freedcamp message telling him that he is “going to be placed on” a property recently purchased

 in Nashville, Tennessee. The message stated that they “are expecting to receive 100k to rehab the

 property this week”, that the “rehab process will take approximately 8 weeks” and “after the rehab

 process we will place your property on the market.” This message included a copy of a purported

 real estate purchase agreement for real property located at 1015 Pennock Avenue, Nashville, TN

 37207.

          125.   As a further example, on October 29, 2018, the Kensington Enterprise sent

 Carrington an email titled “Congratulations Your property is on HGTB: 1015 Pennock Ave,

 Nashville TN”. The email attached a copy of a purported “Real Estate Purchase Agreement” for a

 property in Nashville, Tennessee.

          126.   Carrington was also provided with numerous photographs of the Nashville property

 purportedly purchased on his behalf.

          127.   In January 2019, the Kensington Enterprise sent Plaintiffs an identically worded

 but individually addressed Freedcamp message announcing the purchase of “91 acres of land in

 Murfreesboro, TN” and stating that the Kensington Enterprise “have utilized the monies we have

 received from you to lock in a portion of the land.” This message also included a copy of a

 purported purchase agreement for the said land, identifying the Buyer as Southern Land Partners,

 LLC.


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        128.     This framed KI, Inc.’s default as a mere liquidity problem and suggested to

 Plaintiffs that their investments, though inaccessible, were secure in the form of specific real estate

 holdings.

        129.     Relying on these and similar misrepresentations, Plaintiffs were reassured that their

 investments in KI, Inc. were secured by some particular property and would ultimately garner

 returns or at least full repayment.

              2. HGTV Misrepresentation/Concealment

        130.     KI, Inc. claimed to have entered a “partnership” with a TV show in order to suggest

 that it was making commercial gains.

        131.     On October 29, 2018, Black sent Carrington an email which attached messages

 from Edwards and McFarland alleging that a property purchased in Carrington’s name will be

 featured on HGTV (“Congrats to all. This is fabulous news”). A copy of this email is attached to

 this Complaint as Exhibit 11.

        132.     In March 2019, the Kensington Enterprise sent Plaintiffs a Freedcamp message

 stating: “We are also happy to announce our partnership with the Television show ‘Flip or Flop

 Nashville’ on HGtv. This means that every single property that we purchase & rehab in Nashville,

 will end up on TV.”

        133.     Moreover, in a February 2018 Freedcamp message addressed to Carrington, the

 Kensington Enterprise represented that “[his] property will be airing on Fix or Flop Nashville in

 February.”

        134.     The Kensington Enterprise’s statements in the preceding paragraph were materially

 false or misleading when made.

        135.     On information and belief, KI, Inc. had no partnership with HGTV.




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             3. “Southern Land Partners” Misrepresentation/Concealment

         136.    In 2018 and 2019, the Kensington Enterprise claimed to various Plaintiffs that it

 had re-oriented to the Nashville housing market, where it expected swift and highly lucrative

 returns.

         137.    A March 2019 Freedcamp message from Kensington Enterprise to Plaintiffs

 represented Southern Land Partners, LLC as KI, Inc.’s “sister company”.

                 Kensington International, Artist Financial Program, & our Sister company –
                 Southern Land Partners, are happy to announce that we have just purchased over
                 91 Acres of land in Murfreesboro, TN

         138.    While making the statements detailed above, the Kensington Enterprise concealed

 that: (a) Southern Land Partners (“SLP”) was a Tennessee entity established in August 2018, and

 owned and operated by McFarland, an unqualified agent with an extensive criminal record; and

 (b) KI, Inc. had sent Plaintiffs’ capital to McFarland and SLP without adequate internal controls

 to safeguard the funds from misappropriation or theft.

                 4.      Debt Service Payments Misrepresentation/Concealment

         139.    Starting in or around February 2019, KI, Inc. stopped making debt service payments

 on all the Plaintiffs’ loans.

         140.    Plaintiffs separately sent many emails and text messages to KI, Inc. urging it to

 make the debt service payments, as required by the JVAs.

         141.    In response to Plaintiffs’ many communications about debt service payments, the

 Kensington Enterprise followed a consistent pattern: ignore the inquiry at first, make a false excuse

 for the delayed payment, ask the client to resubmit the payment information, and promise payment

 at some later date.

         142.    When the payment was not made at the promised time or less than the promised

 amount, and Plaintiffs inquired, the pattern started again.


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        143.    Below is just a sample of these communications, which continued in this vein

 throughout 2019:

                a.     July 2019 email from Edwards to Sam:

                You do know that it is a Holiday week, especially for the banking
                institutions... Correct?

                Generally we don't do anything during these weeks because we literally can
                not due to the fact that we work directly with the banks.

                With that said, let your banks know that we should be able to have all of the
                bills current with in the next 2 - 4 weeks. We have other monies coming in,
                outside of the refinance that we have been waiting on, and that monies is
                what we will use to square away everyone's debt and then we will go
                forward from there.

                b.     August 2019 email from Edwards to Radix:

                I literally just sent an email about you to them this morning.

                You should receive some money this week, latest Monday or Tuesday of
                next week. Thank you for your patience

                c.     July 31 2020 text message from Black to Sam:

                We’re expecting to begin paying down all debts by the last quarter of 2020
                and into the first and second quarter of 2021. After that, we will spend the
                rest of 2021, generating a return on investment for our partners.

                d.     July 24, 2019 email from Black to Radix:

                Again, we are excited to get everything back on track for you and looking
                forward to making us some money. Bare with us, as all of the monies don't
                just come in right away. So, we will be taking your bills down for the next
                week to 2 weeks. But, we will be getting you the monies needed.

        144.    The Kensington Enterprise’s statements to Plaintiffs about debt service payments

 were rife with excuses and obfuscation.

        145.    For example, after KI, Inc., failed to service Plaintiffs’ debts, at least two of the

 Plaintiffs, Sam and Radix, were directed to what the Kensington Enterprise described as credit

 repair agencies.


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        146.    When Plaintiffs Sam and Radix contacted this organization, however, they were

 asked to submit affidavits to creditors falsely stating that they had been the victims of fraud.

        147.    Both Plaintiffs Sam and Radix refused to do so.

        148.    Further, Kensington Enterprise made various statements minimizing the risk of

 accumulating debt and encouraging them to ignore calls from creditors. For example, in January

 2020, KI, Inc. emailed Radix a newsletter, titled “WHAT REALLY HAPPENS WHEN YOU

 MISS A CREDIT CARD PAYMENT?”, wherein it made the following representation:

                The most they can do is summon you to court and if you go before
                the judge and tell them that you are financially unable to pay at the
                moment because of a current financial hardship, the judge will
                summon you summon you to create a payment plan and as soon as
                you have money you plan to pay the debt… you will be let off of the
                hook.

        G.      Plaintiffs Discover That the Kensington Enterprise Is a Fraud, Operated by
                an Individual (Gelin) Who Had Previously Been Convicted of Felony Wire
                Fraud.

        149.    The Kensington Enterprise’s numerous fraudulent concealments obscured the

 central problem: KI, Inc. lacked the funds to comply with its contractual obligations to Plaintiffs,

 and Gelin and Edwards never intended to honor the guarantees they had committed to in the JVAs.

        150.    By the end of 2019, it became apparent to most of the Plaintiffs that KI, Inc. was

 not going to meet its financial obligations, and some began to suspect that KI, Inc. had been a

 complete scam from the outset.

        151.    Finally, after years of excuses and false promises, KI, Inc. and its various agents

 stopped responding to Plaintiffs’ inquiries altogether.

        152.    This series of events raises the strong inference that the Kensington Enterprise

 never actually intended to repay Plaintiffs.




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        153.    Even if some or all of the Kensington Defendants actually intended to successfully

 manage a real estate investment venture, there is still clear evidence of a knowing fraud.

        154.     This is readily apparent from a comparison of the various Plaintiffs’ experiences

 with the Kensington Enterprise.

        155.    This shows that the Kensington Enterprise was operating what was, at the very

 least, a form of Ponzi scheme.

        156.    As the various Plaintiffs came to the slow, painful realization that they would never

 be repaid, several began to reach out to attorneys.

        157.    Upon investigation by certain Plaintiffs and their counsel, it was revealed that KI,

 Inc.’s CEO, Gelin, had been convicted of conspiracy to commit bank fraud, wire fraud and/or mail

 fraud in the Southern District of New York in July of, 2009. A copy of the Judgment against Gelin

 is attached to this Complaint as Exhibit 8.

        158.    The grand jury indictment related to those charges accuses Gelin of having

 “identified and recruited straw buyers and falsified certain information provided to the lenders, in

 order to obtain mortgage or home equity loans.” A copy of the relevant indictment against Gelin

 and his co-defendants is attached to this Complaint as Exhibit 9 (quoted language at para. 15).

        159.    Gelin was ordered to pay more than $12 million in restitution to numerous victims

 (jointly and severally with certain co-defendants).

 V.     INVOLVEMENT OF EACH DEFENDANT.

        160.    Black conducted the Inducement Calls with Radix, Heaven, Carrington, and Sam.

 During these calls, and in follow up emails and text messages to each of these Plaintiffs, Black

 made the material misrepresentations and omissions detailed in paragraphs 47-60 above.

        161.    Black not only caused Plaintiffs to agree to execute the JVAs and other agreements

 at issue (including through the Inducement Calls, Brochures, and Websites) but he also directly


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 facilitated Plaintiffs’ execution of related agreements. As an example, a copy of an email from

 Black to Radix inviting Radix to fill out a purported “funding application and broker agreement”

 and provide a list of financial documents is attached to this Complaint as Exhibit 12. It was sent to

 Radix on September 13, 2018, at 11:06 PM.

        162.    Further, Black is the individual who fraudulently reassured Plaintiffs about the

 “loan service” provided by the Kensington Enterprise and explicitly advised them against

 disclosing the presence of brokers to lenders. For instance, Black sent Sam an email asking Sam

 to fill out a “financial application” form and telling him to “Never mention your broker or any

 other person” to lenders. A copy of this email sent on September 20, 2018 is attached to this

 Complaint as Exhibit 13.

        163.    Throughout the relevant period, Black disseminated numerous communications

 from other Kensington Enterprise partners to Plaintiffs, on the phone, by emails and text messages.

        164.    Although most of the Plaintiffs’ interactions with the Kensington Enterprise were

 conducted through Edwards, Black and Gelin, a variety of other individuals were involved. And

 while the Plaintiffs’ funds were purportedly invested in KI, Inc., a variety of other corporate

 entities were used to perpetrate Defendants’ fraudulent scheme.

        165.    Upon information and belief, Defendant Rhina Hernandez was a legal party to

 several of the real estate transactions that were purportedly undertaken on behalf of KI, Inc.

        166.    According to the Kensington Enterprises various emails and newsletters, Defendant

 Burke McFarland was also involved in organizing and managing the Kensington Enterprises foray

 into the Tennessee real estate market.

        167.    Defendant Southern Land Partners LLC (“SLP”), a Tennessee LLC, was used to

 effectuate these transactions and was described as a KI, Inc.’s “partner.”




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         168.       Defendant Kaolee Vang-Thao assisted numerous Plaintiffs in taking out personal

 loans, the proceeds of which would be provided to the Kensington Enterprise.

         169.       Defendant Financial Saver Network, Inc. (d/b/a E-Funding Company) (“FSN”), a

 Minnesota Corporation, was used to effectuate these consumer loan transactions. After several of

 the Plaintiffs entered into agreements with KI, Inc., Vang-Thao—purportedly acting as an

 employee of FSN—requested their personal and financial information and using the same,

 acquired third party credit lines on their behalf.

         170.       Certain Plaintiffs also paid FSN fees through Wire Transfer as instructed by the

 Kensington Enterprise. Numerous Plaintiffs also paid FSN “brokerage fees” for this.

         171.       Upon information and belief, FSN lacks the various licensures required to conduct

 such activities.

         172.       Upon information and belief, Vang-Thao is the owner of FSN.

         173.       Defendant Kennsington Capital Group, LLC (“KCG”), a New York LLC, was

 apparently used interchangeably with KI, Inc. For example, KCG’s website included information

 about Defendants’ fraudulent scheme and certain of the promotional events Defendants hosted to

 induce Plaintiffs’ investment were under KCG’s name.

         174.       Gelin, Black and Edwards all hold themselves out as officers or agents of KCG.

         175.       Defendant The Business Buyers Club, LLC, (“BBC”) is an active domestic limited

 liability company incorporated in New York State in June 2015.

         176.       Upon information and belief, BBC is owned and controlled by Gelin, Black,

 Edwards and Hernandez.

         177.       Gelin holds himself out as its CEO. BBC’s website has previously represented that

 it is a “subsidiary of Kensington Capital Group, LLC.”




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          178.     Defendant Ultimate Better World Solutions, LLC (“UBWS”), a New York LLC,

 was promoting the Kensington Enterprise scheme through its website.

          179.     Upon information and belief, UBWS is owned and controlled by Black.

          180.     Throughout the relevant period, Black represented himself as Founder/Chief

 Solutions Officer of “Ultimate Better World Solutions” to Plaintiffs, and regularly conducted

 Kensington Enterprise business using his UBWS email address (ubws.info@gmail.com) and

 signature.

          181.     Defendant Artist Solutions, LLC (d/b/a Artist Financial Programs, UNKNY)

 (“Artists Financial”) is an active domestic limited liability company incorporated in New York

 State.   Defendant KI, Inc.’s and KCG’s Facebook page has represented that “Kensington

 International has partnered up with Indie Label- UNKNY - to create the Artist Financial Program

 . . . an initiative where we help recording artists and content create gain access to capital towards

 the advancement and development of their careers, all while giving them the tools to achieve

 financial stability through real estate.” Upon information and belief, Artists Financial is owned

 and controlled by Defendants Gelin and Edwards.

 VI.      PLAINTIFFS’ RESPECTIVE DAMAGES RESULTING FROM THEIR
          INVESTMENTS IN KENSINGTON.

          182.     Defendants’ various unlawful conduct caused Plaintiffs to suffer substantial

 financial losses.

          183.     These financial losses include, but are not limited to:

              a.   Massive unpaid debts or depletion of savings to pay off massive debts for the funds

                   that were furnished to the Kensington Enterprise.




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               b. Ballooning interest, fees, and other costs, much of which stemmed from the

                  Kensington Enterprise’s failure to inform the Plaintiffs when it stopped making

                  payment on their debts;

               c. Attorneys’ fees for defending creditors’ lawsuits, which have been initiated against

                  many of the Plaintiffs.

        184.      All the Plaintiffs also suffer from significant non-financial losses, including but not

 limited to:

               a. Dramatic reductions in credit scores;

               b. Anxiety and anguish caused by financial hardship;

               c. Disruption and distress caused by constant collections calls from creditors;

               d. Humiliation and frustration from being defrauded.

 VII.   CLASS ALLEGATIONS

        185.      Plaintiffs bring this action on behalf of themselves, and all others similarly situated

 who were fraudulently induced into lending, investing or otherwise furnishing moneys to the

 Kensington Enterprise. Plaintiffs seek to certify a class pursuant to Fed. R. Civ. P. 23(a), 23(b)(2),

 and 23(b)(3).

        186.      The Class sought to be certified is as follows:

                  All individuals who invested in, lent to, or otherwise furnished money to the
                  Kensington Enterprise based upon promises of economic gain and were either: (a)
                  never repaid such moneys, (b) never reimbursed or fully remunerated for late fees,
                  interest, or other costs of credit in violation of relevant contractual promises from
                  the Kensington Enterprise, and/or (c) suffered damage to their credit score or
                  creditworthiness.

        187.      Excluded from the putative Class are (a) the named Defendants and any subsidiaries

 or affiliates thereof; (b) any person or entity who is, or was during the Class Period, a partner,

 officer, director, employee or controlling person of any of the named Defendants; (c) any entity in



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 which any of the Defendants have a controlling interest; (d) the legal representatives, heirs,

 successors or assigns of any of the excluded persons or entities specified in this paragraph; and (e)

 the insurance carriers or their affiliates who insure(d) the Defendants.

        188.    There are predominating common questions of law and fact relating to the claims

 of Plaintiffs and the Class including, but not limited to, the following:

            a. Whether Defendants engaged in the fraudulent schemes or artifices described

                herein;

            b. Whether Defendants formed an association-in-fact enterprise (the Kensington

                Enterprise) for the purpose of carrying out the alleged scheme;

            c. Whether the Kensington Enterprise was an association formed to conduct or

                participate, directly or indirectly, in the affairs of an enterprise through a pattern of

                racketeering activity in violation of 18 U.S.C. § 1962(c);

            d. Whether the Kensington Enterprise engaged in a pattern of racketeering activity

                with the intent to defraud Plaintiffs and the Class using the U.S. mails and interstate

                wire service in violation of 18 U.S.C. §§ 1341 and 1343 (mail and wire fraud);

            e. Whether the Kensington Enterprise conspired to violate 18 U.S.C. § 1962(c) as

                prohibited by 18 U.S.C. § 1962(d);

            f. Whether Defendants fraudulently induced the member of the putative Class to enter

                into the JVAs and other relevant agreement;

            g. Whether KI, Inc. breached the JVAs as detailed herein;

            h. Whether KI, Inc. owed and breached a fiduciary duty to the members of the putative

                Class;




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             i. Whether and to what extent the members of the putative Class have sustained

                 damages as a result of the actions of Defendants complained of herein;

             j. Whether Defendants are liable for constructive trust or an accounting with respect

                 to the putative Class;

             k. Whether Defendants may be held liable for restitution to members of the putative

                 Class;

             l. Whether Defendants may be held liable for injunctive relief.

         189.    The members of the Class sought to be represented by Plaintiffs are so numerous

 that joinder of all members is impracticable. Although the precise number of individuals in the

 putative Class is not known with certainty, Plaintiffs believe that there are dozens and perhaps

 hundreds of victims apart from those named on the Complaint. Members of the Class are also

 geographically dispersed across the United States.

         190.    Adjudications with respect to individual members of the Class would, as a practical

 matter, be dispositive of the interests of other Class members not parties to the adjudication.

 Individual litigation of these claims would be entirely impractical and would impair the ability of

 Class members to protect their interests.

         191.    The claims of the named Plaintiffs are typical of those of the Class, and the named

 Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs' interests do not

 conflict with those of the Classes, and Plaintiffs are represented by counsel experienced in complex

 litigation, including class actions and international litigation. Plaintiffs seek redress for the same

 conduct that has affected all class members and Defendants’ liability on the legal claims advanced

 herein would be common to all members of the Class.




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        192.    A class action is superior to other available methods for the fair and efficient

 adjudication of this controversy. In the absence of a class action, courts will be unnecessarily

 burdened with multiple, duplicative individual actions. Moreover, if a class is not certified, many

 meritorious claims will go unredressed as the individual class members are not able to prosecute

 complex litigation against Defendants. Finally, it would be logistically and financially impossible

 for the thousands of class members to each bring an individual action.

 VIII. ALTER EGO ALLEGATIONS

        193.    The Corporate Defendants (KI, Inc., KCG, BBC, UBWS, Artists Solutions, FSN

 and SLP) are all privately held companies.

        194.    The various Individual Defendants own one hundred percent of the Corporate

 Kensington Defendants.

        195.    Upon information and belief, the Individual Defendants exercise complete control

 over the Corporate Kensington Defendants.

        196.    There is a unity of interest and ownership between the Individual Defendants on

 the one hand, and the Corporate Kensington Defendants, on the other hand, such that the requisite

 degree of individuality and separateness among these Defendants, and each of them, have ceased,

 and that the Individual Defendants are the alter egos of the Corporate Kensington Defendants, and

 these entities are the alter egos of one another.

        197.    The Individual Defendants have controlled and operated the Corporate Kensington

 Defendants as devices to avoid individual, agency, and respondeat superior liability.

        198.    The Individual Defendants have failed to maintain the requisite degree of

 separateness with the Corporate Kensington Defendants and have failed to observe requisite

 corporate formalities.




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        199.     The Individual Defendants have intermingled the Corporate Kensington

 Defendants’ assets and their personal assets.

        200.     Adherence to the fiction of the separate existence of the Corporate Kensington

 Defendants as entities distinct from the Individual Defendants would permit an abuse of the

 company privilege, sanction fraud, and promote injustice.

 IX.    CAUSES OF ACTION

                                                 Count I

             Violation of Federal Racketeer Influenced & Corrupt Organizations Act
                                (“RICO”), 18 U.S.C. 1961, et. seq.
                                     Against All Defendants

        201.     The Kensington Enterprise was composed of all Defendants named herein.

        202.     The Kensington Enterprise’s partnership and coordination with one another while

 purportedly acting on behalf of KI, Inc. constitutes an “association-in-fact” pursuant to 18 U.S.C.

 §1961(4).

        203.     The Kensington Enterprise willfully and knowingly engaged in a pattern of

 racketeering activity involving that “enterprise” and/or their “association in fact.”

        204.     The Kensington Enterprise acquired and/or maintained control of KI, Inc. through

 a pattern of racketeering activity in violation of §1962(b).

        205.     The Kensington Enterprise conducted and participated, directly and indirectly, in

 the conduct of the Kensington Enterprise’s affairs as an enterprise and “association-in-fact”

 through a pattern of racketeering activity in violation of §1962(c).

        206.     The Kensington Enterprise utilized the partnership among themselves and/or KI,

 Inc., as their personal vehicle for diverting and transferring Plaintiffs’ money and investment

 proceeds to themselves and their individual accounts, thereby misappropriating at least $5,000,000

 of investment proceeds from Plaintiffs and other members of the Class.


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           207.   The Kensington Enterprise shared a common purpose of obtaining pecuniary gain

 through: (a) fraudulent representations made as officers, representatives, and partners of KI, Inc.;

 (b) their design, perpetration and concealment of the fraudulent real estate investment scheme; and

 (c) fraudulent misrepresentations and concealments of the true nature of the various agreements

 entered into with Plaintiffs, which were all part of Defendants’ corrupt scheme and artifice to

 defraud Plaintiffs and misappropriate Plaintiffs’ funds.

           208.   The Kensington Enterprise’s scheme was a sustained, well-developed operation

 organized for the purpose of defrauding Plaintiffs and other members of the Class, and

 misappropriating Plaintiffs and class members’ funds. Each of these Defendants played a distinct

 and significant role in facilitating the fraudulent transfer of Plaintiffs' and class members’ funds

 using their pattern of racketeering and their concealment of their fraud.

           209.   The Kensington Enterprise knowingly, willfully and unlawfully conducted or

 participated, directly or indirectly, in the affairs of the Kensington Enterprise through a pattern of

 racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5), and 1962(c). Each

 Kensington Defendant had the specific intent to engage in the substantive RICO violation alleged

 herein.

           210.   Predicate acts of racketeering activity are acts which are indictable under provisions

 of the U.S. Code enumerated in 18 U.S.C. § 1961(l)(B). The Kensington Enterprise’s predicate

 acts constituting a pattern of racketeering include, but were not limited to:

           Predicate Act #1 – Wire Fraud (18 U.S.C. § 1343)

           211.   The Kensington Enterprise committed acts constituting indictable offenses under

 18 U.S.C. § 1343, in that it devised or intended to devise a scheme or artifice to defraud Plaintiffs

 and other Class members, or to obtain money or property from them by means of false or fraudulent




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 pretenses, representations or promises. For the purpose of executing the scheme or artifice,

 Defendants transmitted or caused to be transmitted by means of wire communications in interstate

 commerce various writings, signs, and signals. These acts were done intentionally and knowingly

 with the specific intent to advance Defendants’ scheme or artifice, or with knowledge that the use

 of the wires communications would follow in the ordinary course of business, or that such use

 could have been foreseen, even if not actually intended.

        Predicate Act #2 – Transporting Proceeds of Fraud (18 U.S.C. §§ 2314–15)

        212.    The Kensington Enterprise committed acts constituting indictable offenses under

 18 U.S.C. §§ 2314–15, the National Stolen Property Act. By the acts described herein, the

 members of the Kensington Enterprise transmitted, transferred, and received money with a value

 of more than $5,000, knowingly the same to have been converted and/or taken by fraud. Upon

 information and belief, that money was transmitted or transferred in interstate commerce. These

 acts were done intentionally and knowingly with the specific intent to advance Defendants’ scheme

 or artifice, or with knowledge that the above referenced transmittals, transfers or receipts would

 follow in the ordinary course of business, or that such use could have been foreseen, even if not

 actually intended.

        213.    The two foregoing predicate acts committed by the Kensington Enterprise

 constitute “racketeering activity” as defined by 18 U.S.C. 1961(1) et. seq., as well as a “pattern of

 racketeering” as defined by 18 U.S.C. 1961(5), since numerous instances of such predicate acts

 occurred between December 2017 and January 2019.

        214.    All Defendants constitute “culpable persons” as defined in 18 U.S.C. 1961 in

 violating §1962(a), (b) and (c) since these defendants’ coordination constitutes an “association-in-

 fact” for purposes of these defendants’ violation of §1962(c). These defendants’ actions and




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 patterns of racketeering constitute violations of §1962(a), (b) and (c) of the Racketeer Influenced

 & Corrupt Organizations Act (“RICO”).

                                               Count II

      Conspiracy to Violate Federal Racketeer Influenced & Corrupt Organizations Act
                              (“RICO”), 18 U.S.C. 1961, et. seq.
                                   Against All Defendants

        215.    Plaintiffs repeat and re-allege each and every paragraph outlined above with the

 same force and effect as if more fully set forth at length herein.

        216.    The predicate acts committed by the Kensington Defendants outlined above

 constitutes a conspiracy to violate §1962(a), (b) and (c) of the federal RICO Act in violation of

 §1962(d).

        217.    The Kensington Defendants’ predicate act and pattern of racketeering are the direct

 proximate result of Plaintiffs’ lost investment proceeds and capital contributions.

        218.    As a result, Plaintiffs have been and will continue to be damaged.

        219.    Plaintiffs are also entitled to treble damages, punitive damages and attorneys’ fees

 as a result of these defendants’ predicate acts pursuant to §1964(c).

                                              Count III

                                      Fraudulent Inducement
                                      Against All Defendants

        220.    Plaintiffs repeat and re-allege each and every paragraph outlined above with the

 same force and effect as if more fully set forth at length herein.

        221.    To induce Plaintiffs to furnish monies to the Kensington Enterprise, the Kensington

 Defendants made several material misrepresentations and omissions.

        222.    These material misrepresentations and omissions were made during the Inducement

 Calls, in the Brochures, and on the Websites, detailed in paragraphs 47-60 above.



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        223.     These material misrepresentations and omissions fall into seven categories: (i) the

 Capitalization Misrepresentation; (ii) the Establishment Misrepresentation, (iii) the Institutional

 Experience Misrepresentation; (iv) the Past Success / Testimonial Misrepresentation; (v)

 Guarantee Misrepresentation; (vii) the Section 8 Misrepresentation; and (viii) the General Intent-

 to-Perform Misrepresentation. These are all detailed in paragraphs 62 through 100 above.

        224.     All seven of the aforementioned representations were materially false or misleading

 when made.

        225.     Defendants knew that these representations were false or misleading but made them

 with the intention of inducing Plaintiffs to invest with Kensington and enter into the JVAs.

        226.     Plaintiffs executed the JVAs and invested in Kensington in justifiable reliance on

 Kensington’s misrepresentations.

        227.     Plaintiffs have been damaged by Kensington’s misrepresentations, as they would

 not have executed the JVAs and invested in Kensington but for these misrepresentations.

        228.     Each Defendant played a direct and particular role in the crafting and presentation

 of these misrepresentations, as detailed herein at Section IX. To the extent details with regards to

 any particular Defendant’s role is lacking, further investigation through discovery will be required

 to unearth such details, as the necessary evidence is in the Defendants’ possession.

        229.     Defendants’ actions were willful and wanton, showing a conscious and deliberate

 disregard of Plaintiffs’ interests. The imposition of punitive damages is therefore warranted.

                                              Count IV

                                      Breach of Contract
               Against Defendant Kensington International, Inc., Gelin and Edwards

        230.     Plaintiffs repeat and re-allege each and every paragraph outlined above with the

 same force and effect as if more fully set forth at length herein.



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         231.    Plaintiffs had respective contracts, styled as “Joint Venture Agreements”, with

 Defendant KI, Inc. (the “Agreements”).

         232.    Plaintiffs have performed all conditions, covenants, and promises required to be

 performed by Plaintiffs in accordance with the terms of the Agreements.

         233.    KI, Inc. materially breached the Agreements by: (1) failing to repay Plaintiffs’

 respective loans by their applicable Maturity Dates; (2) failing to maintain capital reserves as

 required in the Agreement; (3) failing to make debt service payments on Plaintiffs’ loans; (4)

 failing to reimburse Plaintiffs’ debt origination and broker fees.

         234.    Gelin and Edwards also had obligations under the provisions and/or subsidiary

 contracts to the Agreements. Specifically, they guaranteed certain obligations of KI, Inc.

         235.    Gelin and Edwards breached the Agreements by failing to perform as required

 under the applicable guaranty provisions/subsidiary agreements.

         236.    As a direct and proximate result of KI, Inc., Gelin and Edwards’s breach of the

 Agreements, Plaintiffs have suffered, and continue to suffer, monetary damages in an amount to

 be proven at trial.

                                               Count V

                                    Breach of Fiduciary Duty
                         Against Defendant Kensington International, Inc.

         237.    Plaintiffs repeat and re-allege each and every paragraph outlined above with the

 same force and effect as if more fully set forth at length herein.

         238.    The aforementioned Agreements between Plaintiff and KI, Inc. are titled as “Joint

 Venture Agreements.”

         239.    Once KI, Inc. entered into these joint ventures, it became a joint venture partner of

 Plaintiffs and was entrusted with the discretion to invest on behalf of Plaintiffs.



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         240.    KI, Inc. thus owed Plaintiffs the duties of care, candor, and loyalty.

         241.    These duties obligated KI, Inc. to act reasonably and prudently in investing

 Plaintiffs’ capital, disclose material information regarding the investments it made on Plaintiffs’

 behalf, and act in the best interests of Plaintiffs.

         242.    KI, Inc. breached its fiduciary duties of care and candor by through the manifold

 acts of deceit, dishonesty, malfeasance, and negligence detailed herein.

         243.    As a direct and proximate result of KI, Inc.’s breach of its fiduciary duty, Plaintiffs

 have suffered, and will continue to suffer, monetary damages in an amount to be proven at trial.

                                                Count VI

                                       Fraudulent Concealment
                                        Against All Defendants

         244.    Plaintiffs repeat and re-allege each and every paragraph outlined above with the

 same force and effect as if more fully set forth at length herein.

         245.    Throughout 2018-2020, the Kensington Enterprise made numerous representations

 about why it was not making debt service payments on Plaintiffs’ loans and the investments it

 made on their behalf, as detailed above Section VII.

         246.    These representations fraudulently concealed material information which the

 Kensington Enterprise had a duty to disclose.

         247.    The Kensington Enterprise knew that its representations misleadingly omitted

 material information to conceal their other frauds and malfeasances detailed herein.

         248.    Kensington Defendants’ actions were willful and wanton, showing a conscious and

 deliberate disregard of Plaintiffs’ interests. The imposition of punitive damages is therefore

 warranted.




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                                              Count VII

                                       Equitable Accounting
                                       Against All Defendants

        249.    Plaintiffs repeat and re-allege each and every paragraph outlined above with the

 same force and effect as if more fully set forth at length herein.

        250.    In accordance with the Agreements, which entitles Plaintiffs to full repayments of

 their loans, including all interest, fees, and costs incurred thereon, and their share of profits from

 the disposition of any properties acquired on their behalf, Plaintiffs are entitled to an accounting

 from Defendants.

        251.    Defendants are in the best position to know how Plaintiffs’ funds were used. The

 books and records necessary to make such determinations are in the possession, custody, and

 control of Defendants. The true and correct amounts due to Plaintiffs can only be ascertained by

 an accounting performed under the supervision of the Court.

 X.     PRAYER FOR RELIEF

        252.    Plaintiffs pray for relief and judgment as follows:

                a.      compensatory damages against all Defendants, jointly and severally, for all

 damages sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial;

                b.      prejudgment interest;

                c.      statutory and/or punitive damages;

                d.      equitable accounting and injunctive relief;

                e.      reasonable costs and expenses incurred in this action, including attorneys’

 fees and costs; and

                f.      such other relief as the Court deems just and proper.




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 XI.      JURY DEMAND

          253.     Plaintiffs hereby demand a trial by jury.



 Dated:          New York, NY                         Respectfully submitted,
                 July 21, 2023
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